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     Attorneys for Objector
 9   William Greyer
10
                              UNITED STATES DISTRICT COURT
11
                           NORTHERN DISTRICT OF CALIFORNIA
12
13   Christopher James, et al., individually   Case No. 3:19-cv-06462-EMC
14   and on behalf of all others similarly
     situated,                                 WILLIAM GREYER’S NOTICE OF
15                                             WITHDRAWAL OF OBJECTION TO
                      Plaintiff,               CLASS ACTION SETTLEMENT
16
            v.
17                                             Judge:     Hon. Edward M. Chen
18   Uber Technologies, Inc.,                  Courtroom: 5

19                    Defendants.

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                    NOTICE OF WITHDRAWAL OF OBJECTION – 3:19-CV-06462-EMC
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 1             TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF RECORD :
 2             PLEASE TAKE NOTICE that William Greyer hereby withdraws the objection

 3   filed on June 27, 2022 to the class action settlement in this matter.
 4

 5             Mr. Greyer reasonably believed that he was a Settlement Class Member as, during

 6   the course of his work for Uber and Uber Eats, Mr. Greyer submitted numerous arbitration

 7   opt-out notices to Defendants. Mr. Greyer bases the withdrawal of his objection on the

 8   following evidence provided by Uber through the declaration of Michael Chan :

 9      •      Uber's December 11, 2015 Terms of Service ("TOS") at section 14.1 provides a
10             right to opt out of arbitration when changes are made to the arbitration provisions
11             of the TOS.
12      •      Uber' s November 25, 2019 Terms of Service at section 15.2.8 changed the
13             arbitration provisions. Among other things, it removed the right to opt out when
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15      •      Uber attests that Greyer accepted the arbitration agreement on November 27, 2019.
16      •      Uber attests that it did not receive an opt out from Greyer until January 13, 2020 -
17             17 days after the deadline to opt out from the November 2019 agreement.
18

19             As Mr. Greyer does not independently have sufficient information to refute
20   representations by Uber identified above, Mr. Greyer is withdrawing his objection in this
21   matter.
22
23   DATED : July 12, 2022                                THE GRAYES FIRM

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25                                                        By:                               -
26                                                                      ALLEN GRAYES
                                                          Attorney for Objector
27                                                        William Greyer
28
                                                                 -2-
                          NOTICE OF WITHDRAWAL OF OBJECTION -3:19-CV-06462-EMC
